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            UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF LOUISIANA
               CASE NO.   2:21-cv-00080

DONNA LOU and DAREN PARSA, on their own behalf and
on behalf of their deceased minor child, E.P.
                          Plaintiffs,


                    VERSUS


SHERIFF JOSEPH P. LOPINTO, III, CHAD PITFIELD, RYAN
VAUGHT, STEVEN MEHRTENS, SHANNON GUIDRY, NICK VEGA,
MANUEL ESTRADA, MYRON GAUDET, JOHN DOES 1-3,
VICTORY REAL ESTATE INVESTMENTS LA, LLC D/B/A
WESTGATE SHOPPING CENTER, ABC INSURANCE COMPANY,
and XYZ INSURANCE COMPANY,

                          Defendants.


          30(b)(6) DEPOSITION OF JEFFERSON PARISH
SHERIFF'S OFFICE, through its designated
representative, LIEUTENANT DONALD MEUNIER, given in
the above-entitled cause, via Zoom, pursuant to the
following stipulation, before Sandra P. DiFebbo,
Certified Shorthand Reporter, in and for the State
of Louisiana, on the 1st day of August, 2022,
commencing at 12:35 PM.




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1    APPEARANCES:
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5              -and-
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               REPRESENTING THE PLAINTIFFS
9
               MARTINY & ASSOCIATES
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               ATTORNEY AT LAW -and-
11             JEFFREY D. MARTINY,
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20             REPRESENTING VICTORY REAL ESTATE
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21             SHOPPING CENTER
22   Also Present: Tim Anclade
23   Reported By:
24             Sandra P. DiFebbo
               Certified Shorthand Reporter
25             State of Louisiana
26


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 1                   S T I P U L A T I O N
 2
 3                   It is stipulated and agreed by and
 4   between Counsel for the parties hereto that the
 5   30(b)(6) Deposition of JEFFERSON PARISH SHERIFF'S
 6   OFFICE, through its designated representative,
 7   LIEUTENANT DONALD MEUNIER, Via Zoom, is hereby
 8   being taken pursuant to the Federal Rules of Civil
 9   Procedure for all purposes in accordance with law;
10                 That the formalities of reading and
11   signing are specifically waived;
12                 That the formalities of sealing,
13   certification, and filing are hereby specifically
14   waived.
15                 That all objections, save those as to
16   the form of the question and responsiveness of the
17   answer are hereby reserved until such time as this
18   deposition or any part thereof is used or sought to
19   be used in evidence.
20                          * * * * *
21                 Sandra P. DiFebbo, Certified Shorthand
22   Reporter, in and for the State of Louisiana,
23   officiated in administering the oath to the witness
24   remotely.
25



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 1                       LIEUTENANT DONALD MEUNIER, having
 2                   been first duly sworn, was examined and
 3                   testified on his oath as follows:
 4   EXAMINATION BY MR. MOST:
 5           Q.      Good afternoon.   I'm William Most.      I'm
 6   one of the attorneys for the plaintiffs in this
 7   case.        What is your rank?
 8           A.      Lieutenant.
 9           Q.      So I may call you lieutenant or officer
10   or call you by your last name.           Do you have a
11   preference how I call you?
12           A.      Whatever you are most comfortable with.
13   I have no preference.
14           Q.      Thank you, Lieutenant.     And, just for the
15   record, your name and title and job description.
16           A.      My name is Donald Meunier.     I am a
17   lieutenant with the Jefferson Parish Sheriff's
18   Office, and I am the commander of the Homicide
19   Division.
20           Q.      Have you ever given a deposition before?
21           A.      I have, yes.
22           Q.      Approximately how many depositions?
23           A.      Counselor, I'm not sure.     More than half
24   a dozen.        I don't recall.
25           Q.      And so you understand that you are under



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 1   oath today?
 2        A.   I do, yes.
 3        Q.   That your answers here today have the
 4   same force as if we were in a courtroom with a
 5   judge and jury?
 6        A.   I do understand that, yes.
 7             MR. ZIBILICH:
 8                     And I disagree with that, but that's
 9                  okay.
10   BY MR. MOST:
11        Q.   All right.     Is there anything that will
12   prevent you from giving me your full attention and
13   truthful and complete answers?
14        A.   No.
15        Q.   Are you taking any medications, suffering
16   from any illness, or anything else that would
17   prevent you from understanding my questions and
18   answering them truthfully and completely?
19        A.   No.     I believe I can fully understand
20   your questions.
21        Q.   All right.     And as probably with your
22   experience in prior depositions, you know this is
23   going to take a little bit of time, but it doesn't
24   have to be continuous.     So if at any point you need
25   to take a break for any reason, please, just let me



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 1   or your attorney know, and we'll take that break.
 2   I will, however, warn you now that I will ask you
 3   about or I may ask you about anybody you talked to
 4   and anything you reviewed during a break, and it's
 5   possible that it may not be privileged, your
 6   communications during that time.        So just a heads-
 7   up, but ask for a break any time.
 8        A.    Understood.     Thank you.
 9        Q.    One thing that you are already effective
10   at is waiting for me to finish my questions before
11   answering, and, in return, I will try and do you
12   the same courtesy of waiting until you are done
13   talking.   That way we have a clean transcript for
14   the court reporter.      All right?
15        A.    Yes.
16        Q.    If I ask a question that you don't
17   understand or is confusing, will you agree now to
18   tell me that that is the case rather than just
19   trying to answer it?
20        A.    I certainly agree with that.
21        Q.    And what is your understanding of the
22   case that you're here for today?
23        A.    That is a broad question.       What is my
24   understanding?    I participated in that case from
25   the beginning.



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 1        Q.   Do you know that it's about the death of
 2   a minor in JPSO custody?
 3        A.   I do.
 4        Q.   Is that your understanding?
 5             MR. ZIBILICH:
 6                     Object to the form.
 7   BY MR. MOST:
 8        Q.   After Franz objects, you can answer,
 9   unless he instructs you not to.        Is it your
10   understanding that the case is broadly about the
11   death of a minor in JPSO custody?
12             MR. ZIBILICH:
13                     Same objection.     You can answer.
14             THE WITNESS:
15                     I do understand.     It is revolving
16                  around the death of E       P    .
17   BY MR. MOST:
18        Q.   And it's fine for you to say his name.           I
19   may refer to him as EP, because that makes it
20   easier to redact names later.        Will you understand
21   who I mean if I say EP, that same person?
22        A.   Of course.
23        Q.   Thanks.     This may or may not be different
24   than other depositions that you've done in the
25   past, but today it is my understanding that you are



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 1   here to speak on behalf of Sheriff Lopinto in his
 2   official capacity, i.e., the Jefferson Parish
 3   Sheriff's Office.      Is that your understanding as
 4   well?
 5           A.   That is, yes.
 6           Q.   And if I use JPSO as an abbreviation for
 7   the sheriff's office, or more specifically Sheriff
 8   Lopinto in his official capacity, will you
 9   understand me if I use that abbreviation?
10           A.   I will.
11           Q.   If you use that abbreviation or say
12   Jefferson Parish Sheriff's Office, is that what you
13   will mean as well?
14           A.   It would mean the same thing to me, yes.
15           Q.   And so because you are speaking on behalf
16   of JPSO today, do you understand that when I ask a
17   question of you, I'm really asking a question of
18   JPSO itself?     Do you understand that?
19           A.   That would be my understanding, yes.
20           Q.   And when you give answers, you are not
21   giving the answers of you, Lieutenant, you are
22   giving the answers of the sheriff's office itself,
23   agreed?
24           A.   I would understand that as well, yes.
25           Q.   And because this is a little bit



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 1   different than a typical deposition, the sheriff's
 2   office is required to put someone knowledgeable
 3   forward, and so I don't know may not be as valid an
 4   answer in every context as it would be in a normal
 5   deposition.     Just a heads-up. Okay. All right.
 6   Lieutenant, when did you begin preparing for this
 7   deposition?
 8        A.     I was told about this last week.
 9        Q.     And how much time between then and now
10   did you spend, approximately, preparing for this
11   deposition?
12        A.     Not that much time at all, to be honest
13   with you.     I familiarized myself with the basic
14   concepts.     I was told it was ostensibly surrounding
15   search warrants and the issuance of them and the
16   rationale for them, so that's what I focused on.
17        Q.     So do you think you spent more than an
18   hour or less than an hour?
19        A.     I would be guessing at this point.
20   Somewhere in that range.
21        Q.     So less than two hours, say?
22        A.     I would think that's fair, yes.
23        Q.     And what did you -- you said you reviewed
24   some things.     What did you review to prepare for
25   this deposition?



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 1           A.   As I said, primarily just the issuance
 2   and acquisition of search warrants related to this
 3   case.
 4           Q.   So when you say the issuance and
 5   acquisition, are you talking about policies or you
 6   are talking about search warrant applications
 7   themselves?
 8           A.   No.   I'm actually talking about the
 9   warrant and the application, the supporting
10   affidavit for those search warrants.
11           Q.   So warrants and application and
12   affidavits in support of search warrants.       Any
13   other documents you looked at to prepare for
14   today's deposition?
15           A.   No.
16           Q.   No JPSO policies or standard operating
17   procedures?
18           A.   I mean, I wouldn't tell you I know all of
19   the policies and procedures cold, but, no, I didn't
20   look up policies and procedures as it related to
21   search warrants.
22           Q.   Did you take any notes to prepare for
23   today's deposition?
24           A.   No.
25           Q.   Did you talk to anyone besides a lawyer



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 1   to prepare for today's deposition?
 2        A.   No.
 3        Q.   And because we're doing this deposition
 4   via Zoom, I can't see everything that is in the
 5   room with you see.     I see four people behind you.
 6   Is there anyone besides those four people in the
 7   room with you?
 8        A.   No.    That's it.
 9        Q.   And because we can't see the entire room,
10   we may not be able to tell if someone tries to
11   communicate with you, so will you agree now to tell
12   me if anyone tries to communicate with you, except
13   via spoken objection, during this deposition,
14   whether it's a note, a text message, whispers,
15   anything like that?
16        A.   My cell phones are behind me.     I think
17   you can see them all but certainly, yeah.
18        Q.   Thank you.     Have you brought any
19   documents with you today for this deposition?
20        A.   No, sir.
21        Q.   So you are a lieutenant and the commander
22   of the Homicide Division, correct?
23        A.   That is correct.
24        Q.   Could you give us just the very brief
25   nutshell of your education and professional



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 1   background?
 2        A.    Bachelor of Arts degree.    I've been a
 3   policeman since 1990. Been the commander of
 4   Homicide since 2016.     I've been the commander of
 5   other sections prior to that, and I have
 6   approximately 16 to 17 years of service in the
 7   Homicide Division.
 8        Q.    Is the entirety of your law enforcement
 9   experience with JPSO?
10        A.    It is not.    The first five years, from
11   '90 to '95 was spent with the New Orleans Police
12   Department, and from '95 on it's been with the
13   Jefferson Parish Sheriff's Office.
14        Q.    This is a question I ask of every
15   witness.   It's not specific to you, but,
16   Lieutenant, have you ever been arrested?
17        A.    No.    I have not.
18        Q.    I'm going to pull up Exhibit 40.    Can you
19   see this, if I pull this up on the screen,
20   Lieutenant?
21        A.    Yes.
22        Q.    I may be -- I'll be pulling up documents
23   on the screen during this deposition.     I can zoom
24   in, so if at any point it's hard to read, or it's
25   too small, please, just ask me, and I'll zoom in.



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 1   Also, if you need me to scroll down to review more
 2   of the document, please, just ask, and I'll do so.
 3   All right?
 4        A.      Yes.
 5        Q.      Do you see that this is a notice to take
 6   a deposition?
 7        A.      I do.
 8        Q.      Going down to Page 2 of Exhibit 40, do
 9   you see that Topic 4 here talks about the use of
10   search warrants?
11        A.      I do, yes.
12        Q.      So this is the topic that I understand
13   that you are here for, and I'll read it.       It's "Use
14   of Search Warrants:       JPSO's use of criminal search
15   warrants to obtain information and materials from
16   EP's doctor and school; what crime JPSO was
17   investigating with the use of criminal search
18   warrants for EP's medical and school records; any
19   basis for using criminal search warrants for
20   'generalized law enforcement inspection.'" Are you
21   prepared to talk knowledgeably about those topics?
22        A.      I believe so, yes.
23        Q.      So just table setting, the basics, it's
24   my understanding that JPSO used criminal search
25   warrants to obtain information and materials from



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 1   EP's doctor and school, correct?
 2               MR. ZIBILICH:
 3                        Object to the form.   You can answer
 4                  it.
 5               THE WITNESS:
 6                        My answer to that would be we
 7                  obtained search warrants.      I don't
 8                  distinguish criminal search warrants.
 9                  We did obtain search warrants, yes.
10   BY MR. MOST:
11        Q.     Do you know of any kind of search warrant
12   besides a criminal search warrant?
13        A.     I've never used that term.       I don't know
14   anyone that uses that term.        The term, the
15   standard, would be a search warrant.
16        Q.     So JPSO used search warrants to obtain
17   information and materials from EP's doctor and
18   school, agreed?
19        A.     That is agreed to, yes.
20        Q.     Were the way those search warrants
21   requested and used, was that pursuant to JPSO
22   policy?
23        A.     There is no specific JPSO policy that
24   dictates the mechanisms of manner of search
25   warrants.    That would be state law.       I think we



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 1   abided by that.        We drafted search warrants, and we
 2   supplied supporting affidavits for each.
 3        Q.   So I understand JPSO doesn't have a
 4   written policy on the use of search warrants,
 5   agreed?
 6        A.   Agreed.
 7        Q.   Is there any way in which the search
 8   warrants related to EP were used or obtained -- is
 9   there any way in which that diverged from the way
10   JPSO requires its search warrants be used?
11        A.   I don't believe so, no.
12        Q.   So the way that these search warrants for
13   EP were obtained and used is consistent with
14   Sheriff Lopinto's directives on how search warrants
15   are to be used, agreed?
16             MR. ZIBILICH:
17                        Object to the form.   You can answer
18                  it.
19             THE WITNESS:
20                        The search warrants were obtained in
21                  a manner consistent with any
22                  investigation conducted by JPSO.      Does
23                  that answer your question?
24   BY MR. MOST:
25        Q.   Kind of.        The way that the search



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 1   warrants for EP were obtained and used was
 2   consistent with the way Sheriff Lopinto requires
 3   that search warrants be used within JPSO, agreed?
 4        A.   That is pretty much the phrase you used
 5   before, and I'm not trying to argue with you, but
 6   when you say "the way," what do you mean by that?
 7   I mean, we submit warrants through judges and
 8   commissioners by electronic means.     Is that what
 9   you mean by the way or the substance of them?
10        Q.   I mean, is there anything about the
11   substance, the physical means, the content?     Is
12   there anything about the search warrants for EP
13   that is inconsistent with the way Sheriff Lopinto
14   requires that they be used?
15        A.   The answer to that would be no.
16        Q.   So let's talk about the basic ground
17   rules for search warrants.    An officer can obtain a
18   search warrant for stolen things or evidence of a
19   crime, correct?
20        A.   Many other things but yes.
21        Q.   What are the other things?
22        A.   Well, I mean, Counsel, there could be a
23   sundry of things, an array of different
24   hypotheticals I could give you.    I don't think it
25   revolves around stolen things.    It could be the



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 1   seizure of potential evidence at a location through
 2   investigation that has been deemed relevant and
 3   potential collection of that evidence therein.        I
 4   could give you a hundred of those, but I don't
 5   think -- I'm simply saying it's not solely
 6   revolving around stolen items.
 7        Q.     Yeah, and I can restate it, because what
 8   I said was stolen items or evidence of a crime.           I
 9   agree with you.     It's not just limited to stolen
10   items, and perhaps it would be useful to pull up --
11   this is Exhibit 52, which is labeled B in the
12   dropbox.    Do you see this, Lieutenant?
13        A.     I do.
14        Q.     So this is the Code of Criminal Procedure
15   statute that governs the use of search warrants,
16   correct?
17        A.     That is.
18        Q.     And this governs how JPSO officers are
19   authorized to use search warrants, agreed?
20        A.     That is the standard set forth in Article
21   161, yes.
22        Q.     And so this allows for search warrants
23   for anything that's been the subject of theft, is
24   intended for use or has been used as a means of
25   committing an offense or may constitute evidence



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 1   tending to proof the commission of an offense.
 2   Agreed?
 3          A.   I agree.
 4          Q.   So anything that is to be the subject of
 5   a search warrant either has to be the subject of
 6   theft, the means of an offense, or evidence of an
 7   offense, agreed?
 8               MR. ZIBILICH:
 9                     Object to the form.   It's not even
10                  close to what the article says, sir.
11                  Not even close.   You need to read the
12                  sentence that starts with A.
13               MR. MOST:
14                     The witness can answer the question.
15                  If he's got an objection -- if he
16                  thinks it is misstating, he can say so.
17   BY MR. MOST:
18          Q.   Lieutenant, would you answer the
19   question?
20          A.   Well, I would have to tell you that it
21   does start with A saying except as authorized in
22   163.1, and then the following numbers would
23   constitute what is specifically itemized in Article
24   161.
25               MR. ZIBILICH:



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 1                     Just so the record is clear, so we
 2                  don't get into a legal discussion,
 3                  these questions call for legal
 4                  conclusions, and for that reason, I,
 5                  likewise, object.
 6              MR. MOST:
 7                     All right.     Objection noted.
 8              MR. ZIBILICH:
 9                     Okay.
10   BY MR. MOST:
11        Q.    So as you noted, 161, except as
12   authorized by 163.1, allows for the seizure of
13   items that have been the subject of theft, related
14   to the means of an offense, or evidence of an
15   offense.   Is that a fair summary, aside from 163.1?
16        A.    It is, yes.
17        Q.    And 163.1 talks about bodily examples,
18   right?
19        A.    It does, yes.
20        Q.    So aside from those things we've
21   itemized, a search warrant can't be used to obtain
22   other things other than those, agreed?
23              MR. ZIBILICH:
24                     Objection.     Calls for a legal
25                  conclusion.     You can answer it.



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 1             THE WITNESS:
 2                     No.     I don't agree with that.     In a
 3                  variety of investigations, one may
 4                  obtain a search warrant that is, in
 5                  fact, granted by a judge or issuing
 6                  authority, which was done in each of
 7                  these cases.     I understand you are
 8                  making a legal point with me about the
 9                  purpose or substance of the warrants,
10                  but they were reviewed and endorsed by
11                  a judge.
12   BY MR. MOST:
13        Q.   So you think it's JPSO's position that
14   items can be obtained through search warrants that
15   do not fall within 161 or 163.1; is that --
16             MR. ZIBILICH:
17                     Same objection.     Calls for a legal
18                  conclusion.     You can answer it.
19             THE WITNESS:
20                     I do, yes.
21   BY MR. MOST:
22        Q.   What items outside of 161 and 163.1 can
23   be obtained through a search warrant in JPSO's
24   understanding?
25        A.   Again, as it is being said, I'm not an



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 1   attorney, but I would tell you that if you were
 2   killed tomorrow on the street, Mr. Most, by JPSO,
 3   that I would be seeking search warrants on both
 4   sides of that issue to determine the justification
 5   or lack of it.    I may apply for a search warrant
 6   for your residence.     If you have a bomb strapped to
 7   your waist at the time, I may want to seek evidence
 8   in furtherance of that.     You are no longer alive,
 9   but I'm still going to pursue the answers, and some
10   of those answers may come through search warrants
11   to gather more information during the course of
12   that investigation.
13        Q.    What else?
14        A.    I mean, it's a hypothet.    We could go
15   through many of those.     I just gave you one as an
16   example.   I would not be looking for stolen
17   property in your residence.     I would be looking for
18   answers.   I'd be looking for things that might shed
19   light on the full investigative process.
20        Q.    Right, because you'd be searching for
21   evidence attempting to prove the commission of an
22   offense, right?
23        A.    Or perhaps even your state of mind at the
24   time, but we're talking a hypothetical.     Again, the
25   checks and balances on that fall to the judiciary.



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 1   We submit the warrant, and the judge reviews it,
 2   and the judge either endorses or declines to
 3   endorse a warrant on its merits.
 4        Q.   So it is JPSO's position that JPSO can
 5   properly use search warrants to try and obtain
 6   things that are outside of 161 and 163.1, agreed?
 7        A.   No, no.    I would say that it is the
 8   purview of an investigator or an entity, JPSO in
 9   this case, to seek a search warrant.     That ultimate
10   determination is made by the judge.
11        Q.   So JPSO can seek a search warrant for
12   anything it wants?
13        A.   I didn't say that, Mr. Most.     I said in a
14   given set of circumstances, JPSO, as an entity, may
15   apply for a search warrant.    A judge may say this
16   is beyond the scope, or, yes, I agree.     You've
17   established probable cause.    You've established a
18   reasonable basis bringing the issue to warrant.
19   That would be a determination made by a judge.
20        Q.   Could a JPSO officer seek a search
21   warrant just because they were curious about what
22   the inside of the house looked like?
23        A.   With giving me no other information, I
24   would tell you no.
25        Q.   Could a JPSO officer seek a criminal



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 1   search warrant to help them in a divorce?
 2        A.   Again --
 3             MR. ZIBILICH:
 4                        Wait, wait.     Mr. Most, show me where
 5                  in Number 4 where he is supposed to be
 6                  prepared for that.
 7             MR. MOST:
 8                        If your objection is that it's
 9                  outside the scope of the 30(b)(6)
10                  notice, you can just note that, Franz,
11                  and we'll continue.
12             MR. ZIBILICH:
13                        It is.
14   BY MR. MOST:
15        Q.   All right.          Lieutenant, could a JPSO
16   officer properly seek a search warrant to help them
17   in a divorce?
18             MR. ZIBILICH:
19                        Object to the form.     You can answer
20                  it.
21             THE WITNESS:
22                        To help whom?
23   BY MR. MOST:
24        Q.   I don't know what that word is.
25        A.   To help whom?



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 1        Q.    To help the officer.      Say an officer is
 2   going through a divorce.     Could he go try and get a
 3   search warrant just to help himself out in a
 4   divorce?
 5        A.    Well, an officer should not be getting
 6   any type of document or doing anything like that in
 7   any proceeding that involves himself.        He should be
 8   excluded from that.     So the short answer to your
 9   question in that scenario would be no.
10        Q.    What about a friend's divorce that he's
11   not a party to?
12        A.    The same would apply.
13        Q.    Could a JPSO deputy seek a search warrant
14   for another civil matter?
15        A.    That's a broad question.
16              MR. ZIBILICH:
17                     I object to the form.     Go ahead.
18              THE WITNESS:
19                     It's possible.    Again, not involving
20                  him, a friend, a family member, no
21                  vested interest.    If objectively he is
22                  uninvolved, you'd have to flesh out the
23                  circumstances for me more.
24   BY MR. MOST:
25        Q.    So you don't -- so you think that JPSO



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 1   officers can go to criminal court and seek a search
 2   warrant for civil matters?   Is that what you're
 3   saying, in some circumstances?
 4             MR. ZIBILICH:
 5                  Object to the form.    I have to
 6               object to the form.    There is only one
 7               criminal court in the State of
 8               Louisiana.
 9             MR. MOST:
10                  Franz, just object to the form.
11               Anything more than that is a speaking
12               objection which is prohibited by the
13               Rules of Evidence.    You want to say
14               object to the form, that is all we need
15               to hear.
16             MR. ZIBILICH:
17                  You know the place is wrong.       Okay.
18               I'll do it better.    Don't answer it.
19             MR. MOST:
20                  Are you instructing the witness not
21               to answer, Franz?
22             MR. ZIBILICH:
23                  It is an impossible question to
24               answer, because there is no such thing.
25               Your question is inappropriate.



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 1   MR. MOST:
 2        Are you objecting -- Franz, are you
 3     instructing the witness not to answer
 4     the question?
 5   MR. ZIBILICH:
 6        Yes, because it's impossible to
 7     answer.
 8   MR. MOST:
 9        The only three legitimate bases for
10     instructing a witness not to answer are
11     to preserve a privilege, to enforce a
12     limitation order by the Court, or to
13     present a motion under Rule 30(d)(3) of
14     the Federal Rules of Civil Procedure.
15     Franz, which of those is it?
16   MR. ZIBILICH:
17        There is no such thing as a criminal
18     court in Louisiana, so the question
19     can't be answered.   If you want to
20     limit it to going to Tulane and Broad,
21     which is the only criminal court in the
22     State of Louisiana, I won't object, or
23     you have to use a different word.
24   MR. MOST:
25        Franz, you have instructed the



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 1     witness not to answer.   I don't hear
 2     you to be articulating any of the three
 3     bases of Federal Rules of Civil
 4     Procedure.
 5   MR. ZIBILICH:
 6        You heard what I said.   If you want
 7     to be hardheaded, and not change the
 8     word from "criminal" court to some
 9     other example, it's okay with me, but
10     since there is no other criminal court,
11     he can't answer the question, and since
12     he can't answer it, I'm ordering him
13     not to answer it.
14   MR. MOST:
15        All right.
16   MR. ZIBILICH:
17        All you got to do is change it, and
18     I won't object.
19   MR. MOST:
20        Franz, you have just given us about
21     three paragraphs of a speaking
22     objection.
23   MR. ZIBILICH:
24        I'm not giving him the answer.    I'm
25     trying to help you ask a question



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 1                     that's legitimate.
 2                   MR. MOST:
 3                        I will ask you to discontinue
 4                     continued efforts to making speaking
 5                     objections during this deposition.        All
 6                     right?
 7                   MR. ZIBILICH:
 8                        I'm not answering your question,
 9                     sir.
10                   MR. MOST:
11                        It wasn't a question.
12                   MR. ZIBILICH:
13                        Yeah, it was.     When you said "All
14                     right," with that little "All right,"
15                     that's a question.
16                   MR. MOST:
17                        Okay.   Moving on.
18   BY MR. MOST:
19           Q.      Lieutenant, so it is JPSO's position that
20   in some circumstances officers can seek search
21   warrants to obtain material for civil matters?              Is
22   that JPSO's position?
23           A.      That's not JPSO's position, nor is it
24   mine.        Given the broad nature of your hypothet
25   before, I was telling you without having more



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 1   facts, I can't exclude the possibility of the
 2   issuance or at least an application for one, and,
 3   again, I'll go back to my other answer, that,
 4   ultimately, that will fall under judicial review,
 5   and a determination will be made by a judge whether
 6   it merits issuance.
 7        Q.   So could a JPSO officer properly use a
 8   search warrant to obtain evidence to protect the
 9   officer from liability in a civil matter?
10        A.   Again, I'm not an attorney.           I would
11   defer to attorneys for those hypothets.
12             MR. ZIBILICH:
13                        I'll object to the form.     You can
14                  answer it.
15             THE WITNESS:
16                        I don't believe that would be
17                  appropriate.
18   BY MR. MOST:
19        Q.   Is it JPSO's position that an officer can
20   seek a search warrant to protect the sheriff's
21   office from liability?
22             MR. ZIBILICH:
23                        Object to the form.   You can answer
24                  it.
25             THE WITNESS:



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 1                     To protect a sheriff's office from
 2                  liability? No.    I don't believe so.
 3                  Again, as a policeman, not an attorney,
 4                  I would tell you, if you are asking my
 5                  opinion, I don't believe so, but
 6                  without more facts, I'm left with broad
 7                  hypothets, and I am making legal
 8                  determinations.
 9   BY MR. MOST:
10        Q.   I'll pull up Exhibit 53, which is -- do
11   you see that this is the Fourth Amendment to the
12   U.S. Constitution, Lieutenant?
13        A.   I do, yes.
14        Q.   Do you see that it says no warrant shall
15   issue but upon probable cause?
16        A.   I do.
17        Q.   That's probable cause of a crime, right?
18             MR. ZIBILICH:
19                     Object to the form.    Calls for a
20                  legal conclusion.
21   BY MR. MOST:
22        Q.   You can answer, Lieutenant.
23        A.   It says, "but upon probable cause."
24        Q.   Do you understand -- does JPSO understand
25   that to mean probable cause of a crime?



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 1                MR. ZIBILICH:
 2                        Same objection.   You can answer it.
 3                THE WITNESS:
 4                        I would imagine in most
 5                  circumstances that is what we are
 6                  talking about, some measure of
 7                  investigation related to a crime.
 8   BY MR. MOST:
 9        Q.      Are there any scenarios in which -- you
10   said most.     Is there any other scenarios other than
11   probable cause of a crime?
12        A.      Could you rephrase that for me?
13        Q.      Sure.     I think you said in most
14   circumstances it would be probable cause of a
15   crime.    What else is there?
16        A.      Well, I am offering a back door on
17   absolutes, to be honest with you.         I don't want to
18   give you a definitive answer to nothing more than a
19   broad hypothet.
20        Q.      I'm just trying to understand.       Does JPSO
21   consider that for search warrants there has to be
22   probable cause of a crime, yes or no?
23        A.      Or the potential of one, or an ongoing
24   investigation designed to establish whether a crime
25   was committed or not by one or the other parties



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 1   involved in the incident.       I would think that would
 2   more accurately define it, at least from my
 3   perspective.
 4        Q.     And when you say from my perspective, you
 5   mean JPSO, agreed?
 6        A.     Well, I faulted on that.     Yes.   I meant
 7   literally from my personal perspective, but, yes, I
 8   would think from JPSO's perspective as well, yes.
 9        Q.     So let's talk about Affidavits of
10   Probable Cause.       So when an officer seeks a search
11   warrant, they have to provide an affidavit in
12   support of the warrant, right?
13        A.     They do, yes.
14        Q.     And that affidavit has to state the facts
15   establishing the probable cause that they're
16   seeking the warrant for, right?
17        A.     Agreed.
18        Q.     That means identifying what crime is
19   suspected, agreed?
20        A.     I wouldn't agree.     We have routinely
21   gotten search warrants on what we've defined at the
22   outset as a death investigation.       During my career,
23   my experience, we have obtained warrants on the
24   basis of no definitive established cause and manner
25   of death.    It is at that juncture a death



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 1   investgation, and yet we have secured search
 2   warrants on that basis.       Perhaps no crime has
 3   occurred.     Perhaps no crime has been committed.       We
 4   do not know, so we seek a search warrant in
 5   furtherance of determination, for the sake of a
 6   better term.
 7        Q.      Even when a crime is not even suspected?
 8        A.      Well, you seem to be comfortable with
 9   hypothets.     May I give you one?
10        Q.      Sure.
11        A.      Okay.    If there is a death of an elderly
12   person at a house, and we're initially told, at
13   least anecdotally, that the decedent lived alone,
14   we perhaps have concerns as to cause and manner of
15   death or we see some anomalies within, and when I
16   say we, I'm talking about first responders, not
17   investigators.       We may apply for a search warrant
18   in furtherance of our investigation.       Hopefully,
19   that will assist us in ultimate determination.          We
20   do not know that a crime has been committed, but
21   yet we seek the search warrant, and, again, you
22   obviously know this.       We submit that to a judge who
23   makes the ultimate determination as to whether that
24   warrant is issued or not.
25        Q.      Your hypothetical provided indicia to



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 1   suspect a crime might have been committed, right?
 2          A.   The potential.   The potential.   So in
 3   furtherance of potentials, reasonable potentials,
 4   yes.
 5          Q.   What about in the absence of indicia that
 6   a crime may have been committed?     So in the absence
 7   of a suspected crime.
 8          A.   I would tell you whatever we banter
 9   about, in the end the judge makes a determination
10   whether probable cause existed and whether an
11   issuance of that warrant will come forth or not.
12          Q.   Yeah.   I'm well aware of that,
13   Lieutenant, but what I'm trying to figure out is
14   does JPSO contend it's proper to seek a search
15   warrant related to a death even if there is no
16   suspicion of a crime?
17          A.   If there is no suspicion of a crime, I
18   would have to think about a scenario where that
19   might apply, and I can't right now.     No crime, no
20   investigation of a crime, no potential for one, I
21   wouldn't know what our standing would be at that
22   point.
23          Q.   Okay.   So going back to the affidavit in
24   support of a search warrant, you are saying it
25   doesn't have to specify the crime that's suspected?



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 1        A.   I would --
 2             MR. ZIBILICH:
 3                     Objection to the form.    Calls for a
 4                  legal conclusion.    You can answer.
 5             THE WITNESS:
 6                     I would say that, and I use the
 7                  example, because it's been done many
 8                  times.   We don't know what type of
 9                  death we have.    We don't know whether
10                  we have a natural death, an accidental
11                  death, a suicide, a homicide, so we
12                  will simply label it, for the sake of a
13                  better term, "death investigation."       We
14                  still seek the same issuance of that
15                  warrant, but we have not defined what
16                  the crime is or that there, in fact, is
17                  even a crime.    We're in investigative
18                  mode at that juncture.
19   BY MR. MOST:
20        Q.   And that's the mode that the warrants
21   related to EP were, correct?
22        A.   In investigative mode, yes.
23        Q.   Because JPSO didn't know whether a crime
24   had been committed related to EP, correct?
25        A.   Whether a crime had been committed, yes.



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 1   That is correct as you stated it.
 2        Q.      Is generalized law enforcement inspection
 3   a proper basis for a search warrant for JPSO's
 4   processes?
 5                MR. ZIBILICH:
 6                     I'll object to the form.     You can
 7                  answer it.
 8                THE WITNESS:
 9                     I'm not familiar with the term.
10   BY MR. MOST:
11        Q.      But would it be proper for JPSO's
12   practices for an officer to seek a search warrant
13   just for generalized law enforcement inspection
14   with no identified link to a crime?        Would that be
15   proper?
16                MR. ZIBILICH:
17                     Objection to the form.     It's the
18                  same question.
19                THE WITNESS:
20                     It's the same term I don't
21                  understand, generalized law enforcement
22                  inspection.   It's not a term we use.
23                MR. MOST:
24                     Right.
25                THE WITNESS:



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 1                        If you could define what you mean by
 2                  that term, I could maybe better answer
 3                  your question.
 4   BY MR. MOST:
 5        Q.   Right.        Okay.   We'll move on.   But I
 6   think we can agree that that phrase is not
 7   intelligible as a basis for seeking a search
 8   warrant because you don't understand it.          You don't
 9   understand it to be properly forming the basis for
10   a search warrant, agreed?
11             MR. ZIBILICH:
12                        Object to the form.    You can answer
13                  it.
14             THE WITNESS:
15                        I don't recognize that term.    I
16                  understand the words.       I recognize your
17                  meaning.     Your meaning sounds to me, a
18                  layman, more like fishing expedition,
19                  otherwise identified as generalized law
20                  enforcement inspection.
21   BY MR. MOST:
22        Q.   Right.        And a fishing expedition is not a
23   proper basis for a search warrant, agreed?
24        A.   A fishing expedition certainly would not
25   be, no.



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 1        Q.    A dead person can't be investigated for a
 2   crime, agreed?
 3        A.    For a crime?    Maybe for resolution for
 4   facts but certainly with no ultimate outcome, no.
 5        Q.    So if a person is dead, and they're the
 6   suspect of a crime, JPSO can't go get search
 7   warrants to try and obtain evidence of the crime
 8   the dead person committed, agreed?
 9        A.    I don't agree with that.
10        Q.    You think JPSO can go seek warrants for
11   the crimes of dead people?
12        A.    I think under some circumstances it would
13   be obligatory.
14        Q.    Like what?
15        A.    You are asking for a hypothetical?
16        Q.    You are saying some circumstances.    What
17   are those circumstances?
18        A.    Well, I'd have to give you a hypothetical
19   on that.
20        Q.    Okay.
21        A.    Okay.   If I walk into Lakeside Mall with
22   -- we'll use a bomb strapped to me again.     Yes, JP
23   may have an obligation, even though I blow myself
24   up in the center of the mall, have an obligation to
25   get answers to certain things.     Not only would the



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 1   public deserve the answers, we're obligated to get
 2   answers.   Is the apartment I lived in safe, safe to
 3   the nearby residents?      Was that bomb strapped to me
 4   or did I strap it to myself?      Am I the perpetrator
 5   or am I a dupe of another?      Is this part of a
 6   larger thing?      All of those things would fall under
 7   the umbrella of full investigative measures
 8   undertaken to get the answers.      So I believe, yes,
 9   we'd be well within our rights to seek and to
10   obtain reasonable search warrants on that basis.
11        Q.    Okay.     To your knowledge, has JPSO ever
12   obtained a search warrant to investigate a crime
13   committed by a dead person?
14        A.    A crime committed by a dead person.      I
15   would tell you I served in Homicide for 16 or 17
16   years, and we have obtained warrants on residences,
17   vehicles, and the like belonging to our decedents,
18   our victims, because that may shed light on motive
19   and the like, so, yes.
20        Q.    I understand that if someone is dead, and
21   you think they were killed, you might use search
22   warrants to try and find out information about the
23   killer, but, to your knowledge, has JPSO ever used
24   search warrants to obtain evidence of crimes
25   committed by the dead person themselves without



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 1   another suspect?
 2        A.    Again, I can imagine where that might be
 3   relevant as well.      If you are looking for motive or
 4   identity of the perpetrator, you may seek
 5   information as to the decedent's past that may
 6   offer motive for another.      It may give us
 7   direction, so, again, I would say, yes.
 8        Q.    So, yes, JPSO has used search warrants to
 9   obtain evidence of crimes committed by dead people?
10        A.    So let me clarify.     You say crimes
11   committed by dead people, yes.      In pursuit of their
12   prosecution, obviously not.      They're the decedent
13   at that point, but yes to the first part.
14        Q.    This may be a stupid question, but JPSO
15   understands the Fourth Amendment to the U. S.
16   Constitution to constrain the way it uses search
17   warrants, agreed?
18        A.    Agreed.
19        Q.    So trying to move us from the realm of
20   hypotheticals.     Let's look at a specific search
21   warrant.   This is Exhibit E, which I'll mark as 54.
22              MR. CLARKE:
23                    William, I think you didn't mark 53.
24              MR. MOST:
25                    I think 53 was the Fourth Amendment



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 1                  itself.
 2               MR. CLARKE:
 3                        You put that out there, but you
 4                  didn't say mark it.
 5               MR. MOST:
 6                        Oh, okay.   Well, thank you.    Exhibit
 7                  53.     That will be the text of the
 8                  Fourth Amendment, the exhibit I used.
 9                  Thank you, Andy.
10   BY MR. MOST:
11        Q.     Okay.      Lieutenant, do you see this
12   Affidavit for Search and Seizure warrant that is
13   Exhibit 54 here?
14        A.     Yes, sir, I do.
15        Q.     And this was a search warrant sought by
16   Keith Dowling, a member of JPSO, correct?
17        A.     Correct.
18        Q.     And this search warrant was seeking
19   medical records of EP, correct?
20        A.     Correct.
21        Q.     And it talks about violation via
22   statutes:, and then it says, "No charge at this
23   time."    Do you see that part?
24        A.     Correct.
25        Q.     Does that mean that at that point there



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 1   was not a suspected crime?
 2          A.     The only reason the Homicide Division
 3   investigated that is arguably use of force.        The
 4   only crime that could have conceivably been
 5   considered at that point would be one by deputy or
 6   deputies against E        P    .
 7          Q.     So the only conceivable crime in this
 8   context was by the deputies against EP, correct?
 9          A.     Well, I mean, arguably E    P
10   committed a crime by biting his father and biting
11   the deputy, but at the point at which he passed
12   away, yes.      The answer to your question would be
13   yes.
14          Q.     So was JPSO using this search warrant to
15   investigate the potential crimes of deputies
16   against EP?
17          A.     That is the only purpose for the presence
18   of homicide and the assumption of investigative
19   responsibility by the Homicide Division at that
20   point.      Potential use of force, potential
21   violation, were they within their rights, did they
22   exceed reasonable and necessary force.        That would
23   be our focus.
24          Q.     So the answer is yes, the search warrant
25   was sought and obtained to investigate potential



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 1   crimes by JPSO deputies against EP, correct?
 2        A.     Yes, but it would also provide direct and
 3   clear information regarding the medical records by
 4   East Jefferson regarding injuries.      That is the
 5   purpose of it, for seeking his medical records.
 6        Q.     Right.
 7        A.     He was brought into East Jefferson
 8   Hospital.
 9        Q.     To help evaluate whether the JPSO
10   deputies committed a crime against EP, correct?
11        A.     In furtherance of the investigation, yes.
12        Q.     And that investigation was an
13   investigation of potential crimes against -- by
14   JPSO deputies against EP, correct?
15        A.     In its general form, yes.
16        Q.     Did JPSO have suspicion that its deputies
17   committed crimes against EP at the time of the
18   search warrant application?
19               MR. ZIBILICH:
20                    Object to outside the scope, but you
21                 can answer it.
22               THE WITNESS:
23                    I'm not trying to be difficult.
24                 Suspicion of -- no, no direct
25                 suspicion, but in the interest of



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 1                  thoroughness and the obligation to
 2                  conduct the investigation, things of
 3                  this nature were done to obtain all of
 4                  the information.
 5   BY MR. MOST:
 6        Q.      Yeah.     I understand that.    And so JPSO
 7   didn't have any reason to suspect a crime was
 8   committed against EP at the time of this search
 9   warrant application, agreed?
10        A.      No.     No particular reason to believe so,
11   agreed.
12        Q.      So in this first part, it says, "Keith
13   Dowling deposes and says that probable cause exists
14   for the issuance of the search warrant."            You see
15   that part?
16        A.      I do.
17        Q.      But in the absence of basis to suspect
18   crimes, I don't understand.        What was the probable
19   cause in this scenario?        Probable cause of what,
20   that Keith Dowling's work was the basis for this
21   search warrant?
22                MR. ZIBILICH:
23                        Object to the form.    Legal
24                  conclusion.     Go ahead.
25                THE WITNESS:



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 1                       That's pro forma language.       Keith
 2                  Dowling doesn't generate that language.
 3                  This is almost fill in the blank at
 4                  this stage.     He has no control over the
 5                  language, deposes and says the probable
 6                  cause exists.
 7   BY MR. MOST:
 8        Q.     Yeah.     That's form language, right?
 9        A.     Correct.
10        Q.     So there wasn't actually probable cause
11   in this scenario, correct?
12               MR. ZIBILICH:
13                       Object to the form.      Legal
14                  conclusion.     Go ahead.
15               THE WITNESS:
16                       That would be the language in any
17                  warrant JPSO obtains for medical
18                  records on any individual, living
19                  victim, decedents, perpetrator.         It
20                  would be the same language.
21   BY MR. MOST:
22        Q.     I got you, Lieutenant.         This is the form
23   language.    You fill in the blanks, right.          I got
24   that part, but was there probable cause on these
25   facts that form the basis of this search warrant



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 1   application?
 2             MR. ZIBILICH:
 3                     Object to the form.     Legal
 4                  conclusion.     You can answer it.
 5             THE WITNESS:
 6                     The judge believed so by issuing the
 7                  warrant.
 8   BY MR. MOST:
 9        Q.   But what is JPSO's position?        Was there
10   probable cause on these facts?
11             MR. ZIBILICH:
12                     Object to the form.     Legal
13                  conclusion.     You can answer it.
14             THE WITNESS:
15                     I don't control the statutory
16                  language.     What I tell you is
17                  reasonable expectation to obtain the
18                  answers relevant to the investigation
19                  for the most thorough and complete
20                  investigation, so, yes, JP uses a
21                  Louisiana search warrant, a search
22                  warrant put forth to a commissioner or
23                  a judge in Jefferson Parish, and the
24                  judge makes a determination whether
25                  probable cause exists for the issuance.



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 1   BY MR. MOST:
 2        Q.      I understand, and, look, someone else is
 3   going to determine the legality of it, right?
 4   That's not up to me.        That's not up to you.    I
 5   heard you explain earlier that there was not a
 6   basis to believe that crimes had been committed
 7   here, so my question is, is it JPSO's position that
 8   there was or was not probable cause at the time of
 9   this search warrant application on these facts?
10   Yes or no.     What is JPSO's position?
11                MR. ZIBILICH:
12                     Object to the form.     Legal
13                  conclusion.     You can answer it.
14                THE WITNESS:
15                     My answer remains the same.       I would
16                  tell you the obligation is to conduct
17                  the most thorough investigation.
18                  Toward that end, search warrants will
19                  be sought, and, if reasonable, obtained
20                  at the judicial review, as in this
21                  case.   I believe we would have been
22                  remiss had we not gotten the warrants
23                  we got in this case because we wouldn't
24                  have all the answers.     We wouldn't have
25                  any of the answers.



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 1   BY MR. MOST:
 2        Q.      I understand, but there was no probable
 3   cause that a crime had been committed that was the
 4   basis for this?        There were other reasons that I
 5   understand JPSO was seeking out, but would you
 6   agree with me there was not probable cause of a
 7   crime that was the basis for this search warrant,
 8   agreed?
 9                MR. ZIBILICH:
10                     Most, it is now seven times.      Object
11                  to the form.     Legal conclusion.   Last
12                  time.
13   BY MR. MOST:
14        Q.      Agree or disagree, Lieutenant?
15        A.      I would tell you, to use my hypothet
16   earlier, a generic death investigation, not
17   involving intervention by JPSO or anyone else, that
18   would negate the ability to get a search warrant
19   based on your line of questioning.        I don't agree
20   with that.
21        Q.      So you will not answer me whether JPSO
22   contends that there was or was not probable cause?
23   You will not answer that question; is that correct?
24                MR. ZIBILICH:
25                     That's an editorial.     He has



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 1                  answered you, sir.     He just hasn't
 2                  given you the answer that you want.       I
 3                  suggest that you ask another question.
 4             MR. MOST:
 5                     Franz, no more speaking objections,
 6                  please.
 7             MR. ZIBILICH:
 8                     It's not an objection.
 9             MR. MOST:
10                     Then no more speaking instructions
11                  to the client.
12             MR. ZIBILICH:
13                     The instruction was to you.     I don't
14                  want the editorial.     I want a question.
15   BY MR. MOST:
16        Q.   Lieutenant, I'll ask you one more time,
17   and either say agreed, disagree, or you won't
18   answer the question.
19             MR. ZIBILICH:
20                     No, no, no, no.     Don't answer the
21                  question.    He is not going to tell you
22                  how to answer it.     He is going to
23                  answer it the way he wants to answer
24                  it, sir.    You don't get to tell him how
25                  to answer a question, with all due



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 1                  respect to you.
 2             MR. MOST:
 3                     You are instructing the client not
 4                  to answer the question?
 5             MR. ZIBILICH:
 6                     I am instructing him not to answer
 7                  your multiple choice, because there
 8                  might be a fourth, fifth, or sixth
 9                  choice.
10             MR. MOST:
11                     You're instructing the client not to
12                  answer the question, Franz?
13             MR. ZIBILICH:
14                     I've already said what I have to
15                  say.    Do what you got to do.
16   BY MR. MOST:
17        Q.   Okay.       I'll ask the question, and you can
18   give me whatever answer you want, Lieutenant.
19        A.   All right, Mr. Most.
20        Q.   Was there probable cause of a crime that
21   formed the basis of this search warrant?
22             MR. ZIBILICH:
23                     Objection to the form.     Legal
24                  conclusion.    You can answer it.
25             THE WITNESS:



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 1                      According to the language in the
 2                  warrant that was reviewed and endorsed
 3                  by a judge, the term is "probable cause
 4                  exists."     Whether that is a crime or
 5                  not, this warrant does not define a
 6                  crime.     It states no charge at this
 7                  time, and yet the warrant was issued.
 8                  So while you are hanging on probable
 9                  cause, as a layman, I tell you it's
10                  submitted to a judge.     We articulate
11                  the facts, the basis on which we want a
12                  warrant for certain records, and a
13                  judge either declines or agrees.
14   BY MR. MOST:
15        Q.    Okay.     Moving on to the next exhibit.
16   This is G, which will be 55.        Do you see this
17   warrant here, Lieutenant?
18        A.    I do, Mr. Most.       It's a --
19        Q.    This is another search warrant applied
20   for by Keith Dowling for records related to EP,
21   correct?
22        A.    Correct.
23        Q.    This likewise does not investigate --
24   identify either a target of the investigation or a
25   potential crime, agreed?



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 1        A.   Correct.
 2        Q.   And this one seeks EP's pediatric
 3   records, correct?
 4        A.   Correct.
 5        Q.   For what purpose was EP's pediatric
 6   records sought using this search warrant?
 7        A.   Again, it would be the same rationale.
 8   As much information as we could obtain on his state
 9   of mind, physical well-being.     Again, to submit a
10   report without having delved into those facts, I
11   think we would have been remiss, so these search
12   warrants will all be designed to gather as much
13   information and paint as clear a picture of whoever
14   P     was and what he was dealing with.
15        Q.   So not in furtherance of the
16   investigation of a crime but simply to get
17   background information and an understanding of this
18   person who died, agreed?
19        A.   I'm really not trying to struggle with
20   you, Mr. Most.   I can't agree to that, no.     It
21   isn't solely as it relates to E       P    .   There is
22   interactions between E     P       and the deputies,
23   so as much as we're going to interview the deputies
24   and get an account of events from their
25   perspectives, their individualized perspectives, we



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 1   don't have that ability with Mr. P           , so we're
 2   gathering evidence as we can.         Search warrants
 3   would be the mechanism for which gathering his
 4   records would be achieved for us.
 5          Q.   Okay.    But with this one, like the one
 6   before, there was no indication to believe that a
 7   crime had been committed, but JPSO wanted these
 8   records for these other reasons, agreed?
 9          A.   For the investigative purposes I've
10   stated, yes.
11          Q.   But, otherwise, my statement is correct?
12          A.   As I remember it, yes.
13          Q.   This is Exhibit H, which is Document 56.
14   Do you see that this is, likewise, a search warrant
15   sought by Keith Dowling for, in this case, the
16   records of Daren Parsa?      Do you see that?
17          A.   Yes.    That's correct.
18          Q.   Are you familiar that Daren Parsa is the
19   father of EP?
20          A.   Yes.
21          Q.   So this search warrant had the same
22   purposes as the search warrants we saw before,
23   right?
24          A.   Furtherance of the investigation, yes,
25   sir.



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 1        Q.   So it's not that it was for the purpose
 2   of investigating a potential crime committed by
 3   Daren Parsa, agreed?
 4        A.   Not by a crime committed by Daren Parsa.
 5   We agree, yes.
 6        Q.   This is Exhibit J, which is 57.     I'll
 7   zoom in a little bit on this one.   Do you see that
 8   this is a search warrant by the St. Charles Parish
 9   Sheriff's Office?
10        A.   Yes, sir.
11        Q.   Where does it say -- it says -- you see
12   at the bottom of this on Page 3 it says, "Pursuant
13   to the totality of the circumstances, Sergeant
14   Keith Dowling of the Jefferson Parish Sheriff's
15   Office is seeking these records?"
16        A.   Yes, I do.
17        Q.   So JPSO asked St. Charles Parish
18   Sheriff's Office to obtain the search warrant?
19        A.   That's correct.
20        Q.   Do you see in this paragraph sort of
21   second from the bottom on Page 1, it says -- the
22   first sentence of that paragraph says, "Access to
23   any and all equipment, restraints, or other devices
24   utilized in the care and monitoring of E       P
25   for purposes of generalized law enforcement



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 1   inspection and acquisition of documentary
 2   photographs."     Do you see that part?
 3        A.   I do.
 4        Q.   So that generalized law enforcement
 5   inspection, that's the language you earlier
 6   characterized as a fishing expedition, right?
 7             MR. ZIBILICH:
 8                     No.   I object to the form.
 9             THE WITNESS:
10                     I think, I think, a more appropriate
11                  response to this is he is looking to
12                  inspect it.   He doesn't know what he is
13                  inspecting it for.     I think that is
14                  different than what we were talking
15                  about before with a fishing expedition.
16                  The way you phrased it earlier, and I
17                  meant no disrespect by it, could easily
18                  be defined as for fishing expedition.
19                  I don't think this is -- this is for
20                  inspection.   His choice of words was
21                  his choice of words.
22   BY MR. MOST:
23        Q.   The applicant here doesn't know why he is
24   asking for it?
25        A.   Specifically --



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 1               MR. ZIBILICH:
 2                        Wait.   Object to the form.    Go
 3                  ahead.
 4               THE WITNESS:
 5                        Specifically why, no, no.     He wants
 6                  to establish the existence of and what,
 7                  if anything, it is and the extent of
 8                  it.
 9   BY MR. MOST:
10        Q.     One of the things that is sought in this
11   search warrant -- and so JPSO asked St. Charles
12   Parish Sheriff's Office to get these particular
13   things for a search warrant, right?
14        A.     Because it was out of JPSO jurisdiction,
15   yes, sir.
16        Q.     Right.      So JPSO asked St. Charles Parish
17   Sheriff's Office to seek a search warrant for
18   P    's grades, for example.         That's in this top
19   line, correct?
20        A.     That is one of the things, yeah.         All
21   school records, yes.
22        Q.     Why was Jefferson Parish Sheriff's Office
23   seeking EP's grades?
24        A.     They weren't specifically, but it has
25   been our experience over the years that unless you



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 1   are all-inclusive in your language, you allow
 2   others the opportunity to pick and choose what they
 3   disseminate to you, so we try and be as inclusive
 4   as possible to gather all the records.     That would
 5   be the simplest phrase.     We want everything.    We're
 6   asking for everything.
 7        Q.   So JPSO is using search warrants to just
 8   obtain everything about EP, correct, as much as
 9   they could?
10        A.   His school records so that we could
11   determine what would or would not be relevant
12   rather than allowing a school or other entity to
13   determine it for us, yes.
14        Q.   Relevant to what?     What would those
15   grades help JPSO determine?
16        A.   As would many things.     Maybe a better
17   understanding or perspective on what transpired at
18   the laser tag on Veterans Boulevard.
19        Q.   So JPSO didn't have any reason to believe
20   that EP's grades were evidence of a crime, fruits
21   of a crime, anything like that?     It was just sought
22   to obtain information about the death of this
23   person, agreed?
24        A.   Potentially relevant to the investigation
25   to a full understanding of what transpired and the



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 1   mindsets of those involved.
 2        Q.      When you say investigation, do you mean a
 3   criminal investigation or just a general
 4   investigation?
 5        A.      Again, I mean, I work at the Criminal
 6   Investigations Bureau, but I would call this an
 7   investigation.     An investigation on two fronts.          An
 8   investigation into the death of E         P        and an
 9   investigation as to the use of force to the extent
10   that force was used against E        P         in that
11   encounter.
12        Q.      To determine whether it was like
13   consistent with JPSO policy?
14        A.      Or more importantly reasonable and
15   necessary pursuant to state law.
16        Q.      The question of whether it was consistent
17   with policy, that would be for Internal Affairs not
18   the Homicide Division, correct?
19                MR. ZIBILICH:
20                     Outside of the scope.       You can
21                  answer it.
22                THE WITNESS:
23                     No.   You would be incorrect on that.
24                  That would be the purview of the
25                  Homicide Division.



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 1   BY MR. MOST:
 2        Q.   The Homicide Division of JPSO determines
 3   whether or not officers broke policy?
 4             MR. ZIBILICH:
 5                     Objection.   Way outside the scope.
 6                  You can answer it.
 7             THE WITNESS:
 8                     They would not.     They would more
 9                  correctly determine whether the force
10                  employed in any given set of
11                  circumstances was both reasonable and
12                  necessary or not.
13   BY MR. MOST:
14        Q.   EP's family did not consent to the
15   obtaining of this information, correct?
16             MR. ZIBILICH:
17                     Objection.   Outside of the scope.
18                  You can answer it.
19             THE WITNESS:
20                     They didn't seek their permission,
21                  to my knowledge.     We simply obtained
22                  the warrants.
23   BY MR. MOST:
24        Q.   Do you know whether the family
25   specifically objected to these warrants?



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 1              MR. ZIBILICH:
 2                     Objection.    Outside the scope.   You
 3                  can answer it.
 4              THE WITNESS:
 5                     I would imagine that they did.     I
 6                  believe, Mr. Most, you represented them
 7                  when you sought to quash a warrant for
 8                  the school, so the answer would be they
 9                  did object.
10   BY MR. MOST:
11        Q.    So the JPSO Standard Operating
12   Procedures.     I looked through it and couldn't find
13   anything about search warrants.       Is that correct,
14   in your understanding?
15        A.    Yes.
16        Q.    So the JPSO's Standard Operating
17   Procedures, that's like the policy manual?       Is that
18   correct?
19        A.    Yes.
20        Q.    Nothing about when search warrants are
21   proper or how to do them, agreed?
22        A.    It has nothing regarding search warrants,
23   to my knowledge.
24        Q.    Is there any other document or form in
25   which the sheriff's office has provided guidance to



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 1   deputies about when search warrants are proper or
 2   not proper?
 3        A.      To answer your question as you asked it,
 4   I don't believe so.        No documents.
 5        Q.      I looked through the field training
 6   materials.     I couldn't find anything in there about
 7   search warrants.       Is that consistent with your
 8   understanding?
 9        A.      I couldn't speak specifically to the
10   field training manual, but that would not surprise
11   me, no.   It's going to be a learning on the job
12   thing, and that's perhaps, with JPSO, is going to
13   come later in someone's career than the outset of
14   their patrol division duties.
15                MR. MOST:
16                     Let's take five and break.      I think
17                  we're near or at the end, which is
18                  probably welcome news.      So we'll take
19                  five.     We will come back here at 2:05.
20                  We'll talk then.     Thank you.
21                     {BRIEF RECESS}
22   BY MR. MOST:
23        Q.      Lieutenant, I think I understand your
24   perspective.     A person died, right, and JPSO wanted
25   to have the fullest picture of who was involved,



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 1   what led up it, states of mind, background, stuff
 2   like that to have the fullest understanding of what
 3   happened so that, you know, for the purpose of this
 4   investigation, right?
 5          A.   I think that is a fair statement, yes,
 6   sir.
 7          Q.   Pursuant to that, JPSO sought search
 8   warrants to obtain the minor's school records,
 9   medical records, older medical records, records
10   about the father, stuff like that, right?
11          A.   Records about the father as it related to
12   this incident, but, yes.
13          Q.   So what search warrants were used related
14   to the officers involved?
15               MR. ZIBILICH:
16                     Objection.    Outside the scope.    You
17                  can answer it.
18               THE WITNESS:
19                     No search warrants as it related to
20                  the officers involved.     They were
21                  compliant with requests.     There was no
22                  indication of wrongdoing on their part.
23                  The answer is no search warrants as it
24                  related directly to them.
25   BY MR. MOST:



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 1        Q.   So JPSO sought EP's grades but not the
 2   officers' background information, correct?
 3        A.   We have their background information.
 4   They work for the sheriff's office.
 5        Q.   What about their employment records prior
 6   to the sheriff's office?
 7             MR. ZIBILICH:
 8                     Objection.   Outside the scope.   Go
 9                  ahead.
10             THE WITNESS:
11                     If it were deemed relevant or
12                  probative, I would think that is a
13                  reasonable question, but, in this case,
14                  we also have a video.   We don't have
15                  just their individualized or even
16                  collective accounts of the event.    We
17                  have a video of the incident as it
18                  unfolded.
19   BY MR. MOST:
20        Q.   So search warrants were used to obtain
21   things like EP's grades on the theory that we don't
22   know why, but, who knows, they could be relevant,
23   right?
24        A.   Insofar as your question goes, yes.
25        Q.   But no search warrants --



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 1        A.   I'm sorry.     It was more, as I told you
 2   before, the language is designed to preclude
 3   someone eliminating, for no nefarious reason, well,
 4   you didn't ask for it.     You didn't get it, so we
 5   try and use as inclusive language as we can.
 6        Q.   Right, because you just wanted everything
 7   about the decedent, right, that you could get?
 8        A.   Yeah.     I would like -- I mean, I believe
 9   I would be remiss in running the division or
10   running that particular investigation if you, sir,
11   or the sheriff of Jefferson Parish were to ask me,
12   well, what is his background?      What is his level of
13   understanding?     Could he communicate?    And I were
14   unable to answer those things in any definitive
15   way, I would think my investigation would be
16   remiss.
17        Q.   You said you didn't need search warrants
18   because the officers were compliant.       What
19   documents were requested from the officers
20   themselves?
21        A.   No. I meant --
22             MR. ZIBILICH:
23                     Objection.   Outside the scope.   You
24                 can answer it.
25             THE WITNESS:



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 1                     Sorry.    No.    What I meant in general
 2                  was, and, again, we're back to
 3                  hypothets.    We have body-worn camera
 4                  now.    We did not at the time.    We have
 5                  a video of the incident from area
 6                  surveillance, but if a deputy said,
 7                  when I got on the scene, I photographed
 8                  the interactions.      I wasn't involved.
 9                  I just stood back and photographed them
10                  on the phone.      I would ask him for a
11                  copy of that in its entirety.      If he
12                  didn't supply it, I would seek, and, I
13                  believe, obtained a warrant for those
14                  documents, that video.      That's what I
15                  mean.
16   BY MR. MOST:
17        Q.    But the short answer is no documents were
18   requested from the deputies themselves, agreed?
19        A.    Agreed.
20        Q.    Were documents requested from the parents
21   of EP?
22        A.    Were documents requested from the
23   parents?   As I sit here today, I can only tell you
24   it is my belief the answer would be no.
25              MR. MOST:



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 1        Okay.     I think I know the answer to
 2     the following question, but, Chris, do
 3     you have any questions for the witness?
 4   MR. KAUL:
 5        No questions.
 6   MR. MOST:
 7        Franz, anyone in your room have any
 8     follow-up questions for the witness?
 9   MR. ZIBILICH:
10        No thanks.
11   MR. MOST:
12        Lieutenant, thank you very much for
13     your time here today.     We appreciate
14     you coming here and answering these
15     questions.
16   THE WITNESS:
17        Thank you, Mr. Most.
18   MR. MOST:
19        I think we'll wrap this up.
20   MR. ZIBILICH:
21        Just one little housekeeping thing.
22     I appreciate you giving us until
23     Friday.    I just inquired.   The sheriff
24     is still out of town.     If I could get
25     you an answer as to Subpart B, for lack



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 1     of a better word, as to Question 3,
 2     I'll get it to you ASAP.
 3   MR. MOST:
 4        Cool.     Thank you.
 5   MR. MOST:
 6        We've already picked a gang of
 7     dates.     That would be an hour or so
 8     fill in, I presume.
 9   MR. MOST:
10        Yeah, although, hopefully we could
11     do it sooner.
12        [End of deposition, 2:01]
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 1                  C E R T I F I C A T E
 2
 3                  This certification is valid only for
     a transcript accompanied by my original signature
 4   and original required seal on this page.
 5                  I, SANDRA P. DIFEBBO, Certified
     Court Reporter, in and for the State of Louisiana,
 6   as the officer before whom this testimony was
     taken, do hereby certify that LIEUTENANT DONALD
 7   MEUNIER, after having been duly sworn by me upon
     authority of R.S. 37:2554, did testify as
 8   hereinbefore set forth in the foregoing 68 pages;
 9                  That the testimony was reported by
     me in stenotype, was prepared and transcribed by me
10   or under my personal direction and supervision, and
     is a true and correct transcript to the best of my
11   ability and understanding;
12                  That the transcript has been
     prepared in compliance with transcript format
13   guidelines required by statute or by rules of the
     board, that I have acted in compliance with the
14   prohibition on contractual relationships as defined
     by Louisiana Code of Civil Procedure Article 1434
15   and in rules and advisory opinions of the board;
16                  That I am not related to Counsel or
     to the parties herein, nor am I otherwise
17   interested in the outcome of this matter.
18
19
20
21   ___________________________
     Sandra P. DiFebbo,
22   Certified Shorthand Reporter
23   Date: _________
24
25


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